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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION

                   Karen E. Schreier United States District Judge Presiding

 Courtroom Deputy - MSB                                 Court Reporter – Carla Dedula
 Courtroom - SF #2                                      Date – March 14, 2022
 U.S. Probation Officer – Brent Hubers

                                      4:21-CR-40094-KES-1

 UNITED STATES OF AMERICA                                           Connie Larson


                   Plaintiff,

                      vs.

 BRANDON JAMES ROBERTS                                       Matthew Allen Chivari
                                                              Gregory Erlandson

                  Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 2:30 PM

 TIME:
2:33 PM       Enter contested sentencing hearing.

              Defendant sentenced to 46 months in custody; 3 years supervised release for
              Count 2 to run concurrent with Count 3 and 46 months in custody 3 years
              supervised release for Count 3 to run concurrent with Count 2; $200 special
              assessment.

              Defendant order to self-surrender.

3:30 PM       Court in recess.
